            Case:20-01947-jwb          Doc #:199-1 Filed: 07/24/2020             Page 1 of 2




                          UNITED STATES BANKRUPTCY COURT
                            WESTERN DISTRICT OF MICHIGAN

In re:
                                                                  Chapter 11
BARFLY VENTURES, LLC, et al1                                      Case No. 20-01947-jwb
                                                                  Hon. James W. Boyd
                  Debtors.                                        Jointly Administered
________________________________________/

  NOTICE TO CREDITORS AND OTHER PARTIES IN INTEREST REGARDING
DEBTORS’ SECOND OMNIBUS MOTION FOR ENTRY OF AN ORDER REJECTING
CERTAIN UNEXPIRED LEASES AND TO ABANDON ANY REMAINING PERSONAL
            PROPERTY LOCATED AT THE LEASED PREMISES

               PLEASE TAKE NOTICE that the Debtors have filed a Second Omnibus Motion
for Entry of an Order Rejecting Certain Unexpired Leases (the "Motion"). The Motion, together
with a copy of a proposed order, are enclosed with this notice. In accordance with Rules 4001-1
and 9013 of the local Bankruptcy Rules, objections to the Motion or a request for hearing must
be filed and served within fourteen (14) days of the mailing of this Notice. If you file written
objections or a request for hearing, the original must be filed with:

                                   United States Bankruptcy Court
                                One Division Avenue N.W., Room 200
                                   Grand Rapids, Michigan 49503

and a copy must be mailed to the following:

                                       Elisabeth M. Von Eitzen
                                     Warner Norcross + Judd LLP
                                   150 Ottawa Ave NW, Suite 1500
                                    Grand Rapids, Michigan 49503

                If no objections or a request for hearing are timely filed and served, the Court may
approve and enter the proposed order and otherwise grant the requested relief without a hearing.
If a timely response or request is filed and served, a hearing on the motion will be held at a date
and time set by the Clerk of the Bankruptcy Court.

1
  The Debtors are: Barfly Ventures, LLC (8379), Barfly Management, LLC (6274), 9 Volt, LLC (d/b/a
HopCat)(1129), 50 Amp Fuse, LLC (d/b/a Stella’s Lounge)(3684), GRBC Holdings, LLC (d/b/a Grand Rapids
Brewing Company)(2130), E L Brewpub, LLC (d/b/a HopCat East Lansing)(5334), HopCat-Ann Arbor, LLC
(5229), HopCat-Chicago, LLC (7552), HopCat-Concessions, LLC (2597), HopCat-Detroit, LLC (8519), HopCat-
GR Beltline, LLC (9149), HopCat-Holland, LLC (7132), HopCat-Indianapolis, LLC (d/b/a HopCat-Broad
Ripple)(7970), HopCat-Kalamazoo, LLC (8992), HopCat-Kansas City, LLC (d/b/a HopCat,-KC, LLC and
Tikicat)(6242), HopCat-Lexington, LLC (6748), HopCat-Lincoln, LLC (2999), HopCat-Louisville, LLC (0252),
HopCat-Madison, LLC (9108), HopCat-Minneapolis, LLC (8622), HopCat-Port St. Lucie, LLC (0616), HopCat-
Royal Oak, LLC (1935), HopCat-St. Louis, LLC (6994), Luck of the Irish, LLC (d/b/a The Waldron Public House,
LLC and McFadden’s Restaurant Saloon)(4255).
           Case:20-01947-jwb   Doc #:199-1 Filed: 07/24/2020   Page 2 of 2




                                            WARNER NORCROSS + JUDD LLP

Dated: July 24, 2020                        By:/s/Elisabeth M. Von Eitzen
                                                   Elisabeth M. Von Eitzen (P70183)
                                            Rozanne M. Giunta (P29969)
                                            Stephen B. Grow (P39622)
                                            150 Ottawa Avenue, NW Ste. 1500
Date Served: July 24, 2020                  Grand Rapids, MI 49503
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